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 6
                             IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8
     CARRIE A. ANDERSON, in her Personal                   NO. 2:20-cv-01125-TSZ
 9   Capacity and as Personal Representative of the
     ESTATE OF KIRK DANIEL POWLESS,                        STIPULATED MOTION TO FILE
10   deceased; et al.,                                     EXHIBIT UNDER SEAL

11   Plaintiffs,

12   v.

13   WHATCOM COUNTY, a political subdivision
     of the State of Washington; et al.,
14
     Defendants.
15

16           THE PARTIES, by and through their respective counsel, jointly move this Court for an

17   Order pursuant to Local Rule 5(g) to seal Exhibit 121 filed in support of Plaintiff’s Motion for

18   Summary Judgment. The Parties stipulate and agree as follows:

19           1.        Plaintiff’s Motion relies on an exhibit that this Court has designated as

20   “Confidential” under the Stipulated Protective Order issued on September 14, 2020. Dkt # 14. The

21   Parties jointly file this Motion consistent with that Protective Order.

22           2.        Counsel for Plaintiff hereby certifies that on September 14, 2021, he met and

23   conferred with all other Parties via email, to reach agreement on the need to file the document under

24   seal. See Exhibit A to the subjoined Declaration of Ryan D. Dreveskracht in Support of Stipulated

25   Motion to File Exhibit Under Seal.
                                                                                  Galanda Broadman PLLC
     STIPULATED MOTION TO FILE UNDER SEAL              1                          8606 35th Avenue NE, Ste. L1
                                                                                  Mailing: P.O. Box 15146
                                                                                  Seattle, WA 98115
                                                                                  (206) 557-7509
                    Case 2:20-cv-01125-TSZ Document 79 Filed 09/14/21 Page 2 of 4


 1             3.       Defendant Sally Andrews remains resolute that this document be filed under seal.

 2   See id.

 3             4.       In consideration of these communications the Parties therefore stipulate to filing

 4   Exhibit 121 under seal and to the filing of the agreed Order below.

 5             5.       By so stipulating, neither Plaintiff nor Defendants consent to discovery above or

 6   beyond those permitted by the Federal Rules of Civil Procedure or this Court’s Local Rules.

 7             Respectfully submitted this 14th day of September, 2021.

 8                                                   By: /s/ George Roche
                                                         GEORGE ROCHE, WSBA #45698
 9                                                       Civil Deputy Prosecuting Attorney for
                                                         Whatcom County Defendants & Stewart
10                                                       Andrews
                                                         Whatcom County Prosecuting Attorney
11                                                       311 Grand Ave Suite 201
                                                         Bellingham, WA 98225
12                                                       groche@co.whatcom.wa.us

13                                                   By: /s/ John E. Justice
                                                         John E. Justice, WSBA #23042
14                                                       Counsel for Whatcom County Defendants
                                                         Law, Lyman, Daniel, Kamerrer &
15                                                       Bogdanovich, P.S.
                                                         PO Box 11880
16                                                       Olympia, WA 98508
                                                         jjustice@lldkb.com
17
                                                     By: /s/ Ryan D. Dreveskracht
18                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Counsel for Plaintiffs
19                                                       Galanda Broadman, PLLC
                                                         P.O. Box 15146
20                                                       Seattle, WA 98115
                                                         ryan@galandabroadman.com
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                                                                                   Galanda Broadman PLLC
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            Case 2:20-cv-01125-TSZ Document 79 Filed 09/14/21 Page 3 of 4


 1                                          By: /s/ Nicholas C. Larson
                                                 Nicholas C. Larson, WSBA #46034
 2                                               Counsel for Defendants Sally Andrews and
                                                 Kyle Pritchard
 3                                               Murphy Pearson Bradley & Feeney
                                                 1455 NW Leary Way, Suite 400
 4                                               Seattle, WA 98107
                                                 nlarson@mpbf.com
 5
                                            By: /s/ Ramona N. Hunter
 6                                               Ramona N. Hunter, WSBA #31482
                                                 Hailey K. Delay, WSBA #54887
 7                                               Counsel for Compass Health and Heidi Zosel
                                                 Wilson, Elser, Moskowitz, Edelman & Dicker
 8                                               LLP
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 9                                               Seattle, WA 98101
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10                                               Hailey.delay@wilsonelser.com

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                                                                       Galanda Broadman PLLC
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                                                                       Seattle, WA 98115
                                                                       (206) 557-7509
               Case 2:20-cv-01125-TSZ Document 79 Filed 09/14/21 Page 4 of 4


 1
                                            AGREED ORDER
 2
             Pursuant to the Stipulation above, the Court hereby orders that Exhibit 121 be filed under
 3
     seal.
 4
             DATED this _____ day of September, 2021.
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                                                                 ____________________________
 7                                                               THOMAS S. ZILLY
                                                                 United States District Court Judge
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                                                                                 Galanda Broadman PLLC
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